    Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 1 of 8 PageID# 788



 

 

 

 

 




                     EXHIBIT A
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 2 of 8 PageID# 789
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 3 of 8 PageID# 790
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 4 of 8 PageID# 791
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 5 of 8 PageID# 792
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 6 of 8 PageID# 793
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 7 of 8 PageID# 794
Case 1:18-cr-00083-TSE Document 46-1 Filed 04/30/18 Page 8 of 8 PageID# 795
